Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 1 of 15 Page ID #:287



      In Pro Per Defendant
    1 Joseph P. Diaz Jr.
    2   Rajan O. Dhungana (SBN: 297794)
    3   rdhungana@fedpractice.com
        FEDERAL PRACTICE GROUP
    4   431 N Brookhurst St, Suite 130
    5   Anaheim, Califorrnia 92801
        Telephone: (310) 795-6905
    6   Attorney for Plaintiff
    7   Jane Doe
    8
                            UNITED STATES DISTRICT COURT
    9
                          CENTRAL DISTRICT OF CALIFORNIA
   10
                                   (WESTERN DIVISION)
   11
          JANE DOE,                            2:22-cv-02344-MEMF-GJSx
   12
                                               JOINT RULE 26(f) REPORT
   13                 Plaintiff,
   14
                v.
   15
   16     JOSEPH ‘JOJO’ DIAZ, JR.,

   17   Defendant.
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                                JOINT RULE 26(f) REPORT
Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 2 of 15 Page ID #:288




 1 TO THE HONORABLE JUDGE MAAME EWUSI-MENSAH FRIMPONG:
 2         Plaintiff and Defendant hereby timely submits the joint status report under
 3
     Federal Rule of Civil Procedure 26(f), Local Rule 26-1, and this Court’s March 23,
 4
 5 2023, Order (ECF 54).
 6 A.      Statement of the Case
 7
           (a) Plaintiff’s Statement:
 8
 9         This is a civil action filed by Plaintiff against the Defendant for his violation

10 of federal law. Specifically, on the evening of September 3, 2020, Defendant sent
11
   Plaintiff a photograph of himself in which his penis, bare chest, and face were all
12
13 visible. Plaintiff was a 17-year-old minor at the time. Plaintiff did not view the
14 photograph until the next morning because her parents routinely held their minor
15
   children’s cellphones each evening. The offending photograph was sent through
16
17 the popular social media application Snapchat. Ordinarily, when the recipient opens
18 a Snapchat message or photograph, the sender can see that it was opened and
19
   viewed. A Snapchat message or photograph generally disappears a few seconds
20
21 after being opened unless the recipient screenshots the communication or takes a
22 photograph of it using another device. The recipient can bypass this feature by
23
   partially sliding the message prior to opening. Plaintiff regularly did this when
24
25 receiving Snapchat messages and did so upon receiving the message from
26 Defendant.
27
28                                               1
                                                     JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 3 of 15 Page ID #:289




 1         Shocked and upset, Plaintiff immediately sought her mother’s assistance.

 2 Plaintiff’s mother opened the offending Snapchat and took a photograph of the
 3
     sexually graphic material with another phone to preserve the evidence.
 4
 5         After Plaintiff’s mother took a picture of the obscenity, she called Plaintiff’s

 6 father. Plaintiff’s father then called Defendant’s father to inform him that his adult
 7
     son sent the sexually graphic material to his minor daughter. Defendant’s father
 8
 9 confirmed that it was his son in the photograph and that it was sent to Plaintiff from
10 his son’s phone. The father asserted that Defendant had “mistakenly” sent the
11
   photograph to Plaintiff because he had been heavily drinking the night before.
12
13       When interviewed by the Los Angeles County Sheriff’s Department about

14 the incident, Defendant claimed that his girlfriend, not him, sent the photograph.
15
          (b) Defendant’s Statement:
16
17        I am defending myself In Pro Per in this matter. As I stated in the Answer I
18 filed, I generally deny all of the allegations made in the complaint against me and
19
   have plead any and all available affirmative defenses, which are incorporated herein
20
21 by reference.
22 B. Subject Matter Jurisdiction
23
         (a) Plaintiff’s Position:
24
25         This Court has subject matter jurisdiction over Plaintiff’s claims alleging
26 violations of 18 U.S.C. § 2422(b) and 18 U.S.C. § 2255 under 28 U.S.C. § 1331
27
28                                               2
                                                     JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 4 of 15 Page ID #:290




 1 (action arising under the laws of the United States).
 2         (b) Defendants’ Position:
 3
 4         I am defending myself In Pro Per. I am not aware of any objections to this

 5 Court’s Subject Matter Jurisdiction.
 6
 7 C.      Legal Issues

 8         (a) Plaintiff’s Position:
 9
           Plaintiff alleges the following claims against Defendant: Coercion and
10
11 Enticement, in violation of 18 U.S.C. § 2422(b), and seeks a civil remedy for the
12 damages resulting therefrom, per 18 U.S.C. § 2255.            There are no unusual
13
   substantive legal or evidentiary issues in this case.
14
15       (b) Defendant’s Position:

16         I am defending myself In Pro Per in this matter. As I stated in the Answer I
17
     filed, I generally deny all of the allegations made in the complaint against me and
18
19 have plead any and all available affirmative defenses, which are incorporated
20 herein by reference.
21
   D.    Damages
22
23       (a) Plaintiff’s Position:
24         Plaintiff seeks liquidated damages in the amount of $150,000.00; recovery
25
     of his attorneys’ fees in an amount to be determined; and all other damages, costs,
26
27
28                                              3
                                                    JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 5 of 15 Page ID #:291




 1 penalties, and fees recoverable.
 2         (b) Defendant’s Position:
 3
           I am defending myself In Pro Per in this matter. As I stated in the Answer I
 4
 5 filed, I generally deny all of the allegations made in the complaint against me and
 6 have plead any and all available affirmative defenses, which are incorporated
 7
     herein by reference.
 8
 9 E.      Parties and Evidence

10         (a) Plaintiff’s Parties and Witnesses:
11
           1.    Jane Doe (Plaintiff)
12
13         2.    Joseph ‘JoJo’ Diaz Jr. (Defendant)

14         3.    Plaintiff Jane Doe’s Mother
15
           4.    Plaintiff Jane Doe’s Father
16
17         5.    Plaintiff Jane Doe’s sister
18         6.    Defendant Joseph ‘JoJo’ Diaz Jr.’s father
19
           7.    Defendant Joseph ‘JoJo’ Diaz Jr.’s girlfriend (at the time)
20
21         8.    Ralph Heredia
22         9.    Los Angeles County Sheriff’s Department Detective FNU LNU
23
           (b) Defendants’ Parties and Witnesses:
24
25         I am defending myself In Pro Per in this matter. As I stated in the Answer I
26 filed, I generally deny all of the allegations made in the complaint against me and
27
28                                             4
                                                    JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 6 of 15 Page ID #:292




 1 have plead any and all available affirmative defenses, which are incorporated
 2 herein by reference. Since I deny all of the allegations, and discovery has not yet
 3
     taken place, I reserve the right to identify any and all witnesses at a later date.
 4
 5         (c) Plaintiff’s Key Documents:

 6         1.     Emails, texts, and app-based messaging between the parties and
 7
     witnesses
 8
 9         2.     The offending photograph

10         3.     Jane Doe’s mother’s photograph of the offending photograph
11
           4.     Other documents obtained in discovery
12
13         (d) Defendants’ Key Documents:

14         I am defending myself In Pro Per in this matter. As I stated in the Answer I
15
     filed, I generally deny all of the allegations made in the complaint against me and
16
17 have plead any and all available affirmative defenses, which are incorporated
18 herein by reference. Since I deny all of the allegations, and discovery has not yet
19
   taken place, I reserve the right to identify any and all documents at a later date.
20
21 F.    Insurance
22         (a) Plaintiff’s Position:
23
           Plaintiff is not currently aware of any insurance agreement under which any
24
25 insurance carrier may be liable in connection with this action.
26         (b) Defendant’s Position:
27
28                                                5
                                                      JOINT REPORT OF MEETING UNDER RULE 26(f)
 Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 7 of 15 Page ID #:293




 1         I am not currently aware of any insurance agreement under which the claims

 2 made against me might be covered.
 3
     G.    Manual for Complex Litigation
 4
 5         Plaintiff does not anticipate a need to utilize the Manual for Complex

 6 Litigation.
 7
     H.    Motions
 8
 9         (a) Plaintiff’s Position:

10         Based on the facts currently known to Plaintiff, she does not anticipate that
11
     motions seeking to add other parties or claims, file amended pleadings, transfer
12
13 venue, or challenge the Court’s jurisdiction will be likely.
14         (b) Defendant’s Position:
15
           Based on the facts currently known to me, I do not anticipate that motions
16
17 seeking to add other parties or claims, file amended pleadings, transfer venue, or
18 challenge the Court’s jurisdiction will be likely.
19
   I.    Dispositive Motions
20
21       (a) Plaintiff’s Position:
22         Plaintiff believes that Defendant’s liability may be established by a motion
23
     for judgment on the pleadings or a motion for summary judgment.
24
25         (b) Defendant’s Position:
26         I am defending myself In Pro Per in this matter. As I stated in the Answer I
27
28                                             6
                                                   JOINT REPORT OF MEETING UNDER RULE 26(f)
 Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 8 of 15 Page ID #:294




 1 filed, I generally deny all of the allegations made in the complaint against me and
 2 have plead any and all available affirmative defenses, which are incorporated herein
 3
     by reference. Therefore, a motion for summary judgment and/or other dispositive
 4
 5 motion may be required.
 6 J.      Status of Discovery
 7
           (a) Plaintiff’s Position:
 8
 9         No discovery has yet been served. Plaintiff anticipates propounding Requests

10 for Admission prior to the October 6, 2022 Scheduling Conference. Plaintiff will
11
   make her Rule 26(a) Initial Disclosures by September 30, 2022. Plaintiff will
12
13 provide all disclosures required by Rule 26(a). Plaintiff anticipates that a protective
14 order may be necessary in this case and is not sure whether Defendant will stipulate
15
   to one. If he does not, Plaintiff will move the Court for one.
16
17       (b) Defendant’s Position:
18         No discovery has yet been served. I will provide all disclosures required by
19
     Rule 26(a). I am willing to meet & confer re: a possible protective order to be
20
21 entered in this case.
22 K.      Discovery Plan
23
           (a) Plaintiff’s Plan:
24
25               1.     No changes in the disclosures under Federal Rule of Civil
26 Procedure 26(a) should be made.
27
28                                              7
                                                    JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 9 of 15 Page ID #:295




 1                2.    Plaintiff will conduct discovery to establish Defendant’s

 2 liability, including but not limited to authenticating the photograph, its source, the
 3
     method by which it was sent to Plaintiff, its genuineness, any investigations of the
 4
 5 photograph and the circumstances by which it was sent to Plaintiff, and any other
 6 issues revealed during discovery.
 7
                  3.    Discovery need not be conducted in phases or otherwise limited
 8
 9 beyond the limits already present in the Federal and Local Rules.
10                4.    No applicable discovery limitations need to be changed, and no
11
     other limitations need be imposed.
12
13                5.    At this juncture there is no need for the Court to enter any other

14 orders. As stated in this Joint Report, a protective order may well become
15
   necessary. If so, Plaintiff will seek Defendant’s stipulation prior to moving the
16
17 Court for an order.
18         (b) Defendant’s Plan:
19
           I concur with Nos. 1, 3, 4 and 5 from plaintiff’s section above.
20
21 L.      Expert Discovery
22         Plaintiff proposes expert witness disclosures (initial) be disclosed by May
23
     18, 2023 and expert disclosure (rebuttal) by June 1, 2023. The Parties propose a
24
25 cut-off date for expert witness discovery of June 15, 2023.
26 //
27
28                                              8
                                                    JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 10 of 15 Page ID #:296




 1 M.       Settlement Conference/Alternative Dispute Resolution (“ADR”)

 2          No productive settlement discussions have occurred to date. Plaintiff is open
 3
     to participating in ADR Procedure No. 1, appearing before the district judge or
 4
 5 magistrate judge assigned to the case for such settlement proceedings as the judge
 6 may conduct or direct.
 7
     N.     Trial Estimate
 8
 9          (a) Plaintiff’s Position:

10          This will be a jury trial. The parties have not completed sufficient discovery
11
     to know realistically the length of the trial but anticipate that the trial of this matter
12
13 will take approximately three to four days. Plaintiff anticipates calling up to
14 approximately nine witnesses.
15
         (b) Defendant’s Position:
16
17 O.    Trial Counsel
18          Plaintiff: Rajan O. Dhungana
19
            Defendant: I am defending myself In Pro Per.
20
21 P.       Magistrate Judge
22          Plaintiff does not consent to the assignment of this matter to a Magistrate
23
     Judge.
24
25 Q.       Independent Expert or Master
26          The appointment of a master is not necessary at this time.
27
28                                                 9
                                                       JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 11 of 15 Page ID #:297




 1 R.      Schedule Worksheet

 2         Please see Exhibit A, attached.
 3
     S.    Class Actions
 4
 5         The parties do not anticipate this matter becoming a class action.

 6 T.      Other Issues:
 7
           (a) Plaintiff’s Position:
 8
 9         At this time, Plaintiff is unaware of any unusually complicated technical or

10 technological issues, disputes over protective orders, extraordinarily voluminous
11
   document production, witnesses who will need the assistance of a court interpreter,
12
13 reasonable ADA accommodations, discovery in foreign jurisdictions, the
14 applicability of foreign law, the advanced age or health of parties or key witnesses,
15
   and any proposals concerning severance, bifurcation, or other ordering of proof.
16
17       Given the graphic and offensive nature of one of Plaintiff’s key pieces of
18 evidence, to wit, the picture that Defendant sent to the then-minor Plaintiff of
19
   Defendant nude showing his penis, the Court may wish to issue guidelines
20
21 governing the display of such material at trial.
22         (c)   Defendants’ Position:
23
           At this time, I am unaware of any unusually complicated technical or
24
25 technological issues, disputes over protective orders, extraordinarily voluminous
26 document production, witnesses who will need the assistance of a court interpreter,
27
28                                             10
                                                    JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 12 of 15 Page ID #:298




 1 reasonable ADA accommodations, discovery in foreign jurisdictions, the
 2 applicability of foreign law, the advanced age or health of parties or key witnesses,
 3
     and any proposals concerning severance, bifurcation, or other ordering of proof.
 4
 5 Respectfully submitted,
 6
     Dated: April 6, 2023                         FEDERAL PRACTICE GROUP
 7
 8                                                         By: /s/ Rajan O. Dhungana
 9                                                         Rajan O. Dhungana
                                                           Attorney for Plaintiff
10                                                         Jane Doe
     Dated: April 6, 2023
11
12                                                         ___________________1
13                                                         Joseph Diaz, Jr.
                                                           Defendant
14
15
16
17
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19
20
21
22   1
       Plaintiff’s Counsel attempted to engage with Defendant, but no substantive communications occurred. On April 6,
     2023, Defendant emailed Plaintiff’s Counsel his portion of the Joint Status Report with no comments or instructions
23   attached. On the same day, Plaintiff’s Counsel compiled and formatted the Joint Status Report incorporating all of
     Defendant’s exact words in his portion of the JSR. Plaintiff’s Counsel then emailed Defendant this copy of the Joint
24   Status Report for his review (sans footnote) within hours of Defendant’s email to Plaintiff’s Counsel, and asked him
     to let Plaintiff’s Counsel know if the JSR was good to go to file with the court. Having received no communication
25   from Defendant, Plaintiff’s Counsel cannot affix Defendant’s electronic signature on the Joint Status Report without
     Defendant’s consent. In order not to miss the deadline, Plaintiff’s Counsel has filed this JSR by close of business on
26   April 6, 2023, on or around 5:00pm without Defendant’s signature. Plaintiff’s Counsel has incorporated all of
     Defendant’s words into this JSR verbatim.
27
28                                                              11
                                                                      JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 13 of 15 Page ID #:299




 1
                                                                     EXHIBIT A
 2
                                                       DISTRICT JUDGE MAAME EWUSI-MENSAH FRIMPONG
 3                                                  SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET
                                               Please complete this worksheet jointly and file it with your Joint Rule 26(f) Report.
                                                 The parties must make every effort to agree on dates or the court will set them.
 4
     Case No. 2:22-cv-02344-MEMF-
 5   GJSx
                                                                     Case Name: Jane Doe v. Joseph ‘JoJo’ Diaz Jr.

 6                                           Trial and Final Pretrial Conference Dates
                                                                                                                  Pl(s)’ Date
                                                                                                                                       Def(s)’ Date
                                                                                                                  mm/dd/yyyy
                                                                                                                                       mm/dd/yyyy
 7
                           Check one: ☒ Jury Trial or ☐ Bench Trial
                           [Monday at 8:30 a.m. within 12-15 months of Scheduling Conference based on             November 13-16,
 8   complexity]                                                                                                  2023
                           Estimated Duration: _____4__ Days
 9                         Final Pretrial Conference (“FPTC”) [L.R. 16], Hearing on Motions in Limine
                           [Wednesday at 9:00 a.m. at least 19 days before trial]                                 October 25, 2023
10
                                                    Event 2
                                                                                         Time                     Pl(s)’ Date
11                            Note: Hearings shall be on Thursdays at 10:00 a.m.
                                                                                     3
                                                                                         Computation 4            mm/dd/yyyy
                                                                                                                                       Def(s)’ Date
                                    Other dates can be any day of the week.                                                            mm/dd/yyyy
12                                                                                       6 weeks after
                           Last Date to Hear Motion to Amend Pleadings or Add
     Parties [Thursday]                                                                  scheduling               December 1, 2022
13                                                                                       conference
                           Fact Discovery Cut-Off                                        24 weeks before
14                         (no later than deadline for filing dispositive motion)        FPTC                      May 11, 2023

                                                                                         23 weeks before
15                         Expert Disclosure (Initial)
                                                                                         FPTC
                                                                                                                  May 18, 2023

                                                                                         21 weeks before
16                         Expert Disclosure (Rebuttal)                                  FPTC                     June 1, 2023

                                                                                         19 weeks before
17                         Expert Discovery Cut-Off
                                                                                         FPTC 5
                                                                                                                  June 15, 2023

                           Last Date to Hear Motions [Thursday]
18    •    Motion for Summary Judgment due at least 6 weeks before hearing
      •    All other motions due at least 4 weeks before hearing                         12 weeks before            August 3, 2023
                                                                                         FPTC
19    •
      •
           Opposition due 1 week after motion is filed
           Reply due 1 week after opposition is filed

20   15]
                           Deadline to Complete Settlement Conference [L.R. 16-

                            Select one: ☒ 1. Magistrate Judge (with Court                10 weeks before          August 17,
21   approval)                                                                           FPTC                     2023
                                          ☐ 2. Court Mediation Panel
                                          ☐ 3. Private Mediation
22
23    2   The parties may seek dates for additional events by filing a separate stipulation and proposed order.
24    3 By default, all hearings shall proceed in-person, unless a request is made by the parties and granted by the Court. Requests to
      appear via Zoom must be e-filed by the Friday before the hearing and must indicate that counsel has met and conferred per
25    Local Rule 7-3.
      4 The numbers below represent the court’s recommended timeline. The parties may propose alternate dates based on the needs

26    of each individual case. Class Actions, patent, and ERISA cases may need to vary from the above.
      5 The parties may choose to cut off expert discovery prior to the deadline to file a motion for summary judgment.

27
28                                                                         12
                                                                                    JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 14 of 15 Page ID #:300




                          Trial Filings (first round)
 1   •   Motions in Limine
     •   Memoranda of Contentions of Fact and Law [L.R. 16-4]
 2   •
     •
         Witness Lists [L.R. 16-5]
         Joint Exhibit List [L.R. 16-6.1]                                          4 weeks before   September 28,
     •   Joint Status Report Regarding Settlement                                  FPTC             2023
 3   •   Proposed Findings of Fact and Conclusions of Law [L.R. 52] (bench trial
         only)
         Declarations containing Direct Testimony, if ordered
 4   •
         (bench trial only)

 5                        Trial Filings (second round)
     •   Oppositions to Motions in Limine
         Joint Proposed Final Pretrial Conference Order [L.R. 16-7]
 6   •
     •   Joint Agreed Upon Proposed Jury Instructions (jury trial only)
     •   Disputed Proposed Jury Instructions (jury trial only)                     2 weeks before   October 12,
 7   •
     •
         Joint Proposed Verdict Forms (jury trial only)
         Joint Proposed Statement of the Case (jury trial only)
                                                                                   FPTC             2023

     •   Proposed Voir Dire Questions, if any (jury trial only)
 8   •   Evidentiary Objections to Declarations of Direct Testimony
         (bench trial only)
 9
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                                                                               JOINT REPORT OF MEETING UNDER RULE 26(f)
Case 2:22-cv-02344-MEMF-GJS Document 56 Filed 04/06/23 Page 15 of 15 Page ID #:301




 1                            CERTIFICATE OF SERVICE

 2
          I, Rajan O. Dhungana, hereby certify that on April 6, 2023 I electronically
 3 filed the foregoing via the Court’s Electronic Court Filing system. In addition, I
 4 certify that I sent a courtesy copy of such filing to Defendant Diaz at an email address
 5 that Defendant has acknowledged belongs to him: jojotheboxer@gmail.com.
 6
 7
 8        Dated: April 6, 2023              By: /s/ Rajan O. Dhungana
 9                                                 Rajan O. Dhungana
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28                                             14
                                                    JOINT REPORT OF MEETING UNDER RULE 26(f)
